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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )         4:11CR3032
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )         ORDER
ADELFO JUNIOR SOTO,                             )
                                                )
                     Defendant.                 )



       IT IS ORDERED that:


       (1)    The defendant’s motion for leave to file under seal (filing 72) and unopposed
motion to continue sentencing (filing 73) are granted.


       (2)    Defendant Soto’s sentencing is continued to Wednesday, December 7, 2011,
at 12:30 p.m., before the undersigned United States district judge, in Courtroom No. 1, 5 th
Floor, Robert V. Denney United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.


       Dated September 20, 2011.


                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
